         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 1 of 24



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 TAYLOR WALKER, individually and on behalf           )
 of all others similarly situated,                   )
                                                     )
                              Plaintiff,             )   C.A. No.:
                                                     )
 v.                                                  )   CLASS ACTION
                                                     )
 GENOCEA BIOSCENCES, INC., WILLIAM D.                )   COMPLAINT FOR VIOLATION OF
 CLARK, and JONATHAN POOLE,                          )   FEDERAL SECURITIES LAWS
                                                     )
                              Defendants.            )
                                                     )
                                                     )
                                                     )   DEMAND FOR JURY TRIAL



                               CLASS ACTION COMPLAINT

       Plaintiff Taylor Walker (“Plaintiff”), by his attorneys, except for his own acts, which are

alleged on knowledge, alleges the following based upon the investigation of counsel, which

included a review of United States Securities and Exchange Commission (“SEC”) filings by

Genocea Bioscences, Inc. (“Genocea” or the “Company”), as well as regulatory filings and reports,

securities analyst reports and advisories by the Company, press releases and other public

statements issued by the Company, and media reports about the Company. Plaintiff believes that

additional evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.
            Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 2 of 24



                                 NATURE OF THE ACTION

       1.       This is a securities class action on behalf of all persons who purchased Genocea

common stock between August 04, 2016 and September 25, 2017, inclusive (the “Class Period”),

seeking remedies under the Securities Exchange Act of 1934 (the “Exchange Act”). Plaintiff’s

claims are asserted against certain of Genocea’s executive officers and directors.

       2.       Genocea is headquartered in Cambridge, Massachusetts. Genocea’s common stock

trades on the NASDAQ Capital Market (“NASDAQ”) under the ticker symbol “GNCA.”

       3.       Genocea is a biopharmaceutical company that discovers and develops vaccines and

immunotherapies. At all relevant times, Genocea’s genital herpes immunotherapy product GEN-

003 was the Company’s lead product candidate.

       4.       Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) the

Company’s finances were insufficient to support Phase 3 trials of GEN-003; (ii) accordingly,

Genocea had overstated the prospects for GEN-003; and (iii) as a result of the foregoing,

Genocea’s public statements were materially false and misleading at all relevant times.

       5.       On September 25, 2017, following close of market, Genocea disclosed that it was

halting spending and activities on GEN-003 and exploring strategic alternatives for the drug. The

Company also announced that it was cutting 40% of its workforce.

       6.       On this news, Genocea’s stock price declined $4.08, or nearly 76.5%, from a close

of $5.33 per share on September 25, 2017, to a close of $1.25 on September 26, 2017.




                                                2
            Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 3 of 24



                                 JURISDICTION AND VENUE

       7.       The claims asserted herein arise under §§ 10(b) and 20(a) of the Exchange Act, 15

U.S.C. § 78j(b) and § 78t(a), and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R.

§ 240.10b-5.

       8.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 and § 27 of the Exchange Act, 15 U.S.C. §78aa.

       9.       This Court has jurisdiction over each Defendant named herein because each

Defendant is an individual who has sufficient minimum contacts with this District so as to render

the exercise of jurisdiction by the District Court permissible under traditional notions of fair play

and substantial justice.

       10.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and § 27 of the

Exchange Act because many of the false and misleading statements were made in or issued from

this District. Genocea is headquartered in this District, with its principal place of business located

at 100 Acorn Park Drive, Cambridge, MA 02140.

                                             PARTIES

       11.      Plaintiff Taylor Walker purchased Genocea securities as set forth herein and in his

certification filed herewith.

       12.      Genocea is a corporation organized and existing under the laws of the State of

Massachusetts. Its common stock trades on the NasdaqGS (“NASDAQ”) under the symbol,

“GNCA.”

       13.      Defendant William D. Clark (“Clark”) has been the President and Chief Executive

Officer (“CEO”) at all relevant times.




                                                  3
          Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 4 of 24



       14.      Defendant Jonathan Poole (“Poole”) has been the Chief Financial Officer (“CFO”)

of Genocea at all relevant times.

       15.      Clark and Poole are collectively referred to herein as the “Individual Defendants.”

       16.      Genocea and the Individual Defendants are collectively referred to herein as

“Defendants.”

                            CONTROL PERSON ALLEGATIONS

       17.      By reason of the Individual Defendants’ positions with the Company as executive

officers the Individual Defendants possessed the power and authority to control the contents of

Genocea’s quarterly reports, press releases, and presentations to securities analysts, money and

portfolio managers, and institutional investors, i.e., the market. The Individual Defendants were

provided with copies of the Company’s reports and press releases alleged herein to be misleading

prior to or shortly after their issuance and had the ability and opportunity to prevent their issuance

or cause them to be corrected. Because of their positions with the Company, and their access to

material, non-public information available to them, but not to the public, the Individual Defendants

knew that the adverse facts specified herein had not been disclosed to and were being concealed

from the public, and that the positive representations being made were then materially false and

misleading. The Individual Defendants are liable for the false statements pleaded herein.

                               SUBSTANTIVE ALLEGATIONS

Background

       18.      Genocea develops novel vaccines and immunotherapies to address diseases with

significant unmet needs. The Company uses its proprietary discovery platform, ATLAS™, to

design vaccines and immunotherapies that act, in part, through T cell (or cellular) immune




                                                  4
          Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 5 of 24



responses, in contrast to approved vaccines and immunotherapies, which are designed to act

primarily through B cell (or antibody) immune responses.

        19.     At all relevant times, until September 26, 2017, Genocea’s genital herpes

immunotherapy product GEN-003 was the Company’s lead product candidate.

The Material Misrepresentations and Omissions

        20.     On August 04, 2016, Genocea issued a press release (“Aug. 2016 Press Release”),

also attached as Exhibit 99.1 to the Form 8-K filed with the SEC, announcing that the Phase 3

program for GEN-003 was expected to initiate in the second half of 2017. The press release stated

in pertinent part:

        Around the end of 2016, Genocea expects to report 6-month clinical efficacy data
        from this Phase 2b trial. The placebo-controlled data will represent the first
        opportunity to measure GEN-003 against potential Phase 3 clinical endpoints at 6-
        months after dosing.

        Following these two data readouts, Genocea expects to conduct an end-of-Phase 2
        meeting with the FDA in the first quarter of 2017. During this meeting, the
        company will confirm the Phase 3 program for GEN-003, which it expects to
        initiate in the second half of 2017.
Emphasis added.

        21.     On September 29, 2016, the Company issued a press release (“Sept. 2016 Press

Release”), also attached as Exhibit 99.1 to the Form 8-K filed with the SEC confirming that the

Phase 3 program for GEN-003 was expected to initiate in the second half of 2017. The press release

stated in pertinent part:

              Genocea’s Genital Herpes Immunotherapy GEN-003 Demonstrates
              Significant Reduction of Viral Shedding in Phase 2b Clinical Trial
                               - Trial achieves primary endpoint -
                            - Dose confirmed for subsequent trials -
                            - Phase 3 expected to start in 2H 2017 -
                      - Company to host conference call at 9 a.m. ET today –

        CAMBRIDGE, Mass., September 29, 2016 --(GLOBE NEWSWIRE)-- Genocea
        Biosciences, Inc. (NASDAQ:GNCA), a biopharmaceutical company developing T


                                                5
          Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 6 of 24



        cell-directed vaccines and immunotherapies, today announced positive results from
        its ongoing Phase 2b trial evaluating a new Phase 3-ready formulation of GEN-003
        for the treatment of genital herpes. The study achieved its primary endpoint, with
        GEN-003 demonstrating a statistically significant reduction of 40 percent in the
        rate of viral shedding in the 60 µg per protein / 50 µg of Matrix-M2 dose group
        compared to both baseline and placebo. The viral shedding rate reduction for this
        dose was consistent with its performance at the same time point in a prior Phase 2
        trial.

        “We are very encouraged by this positive data and have now selected a dose of 60
        µg per protein / 50 µg of Matrix-M2 of GEN-003 for our planned Phase 3 trials.
        This is the third consecutive trial in which GEN-003 has demonstrated a statistically
        significant reduction in viral activity immediately post-dosing. In the previous
        Phase 2 trial, success in this measure translated into a significant impact on genital
        herpes clinical disease, durable to at least 12 months,” said Chip Clark, president
        and chief executive officer of Genocea. “This body of data supports our strong
        belief that GEN-003 could be a cornerstone treatment for genital herpes. We look
        forward to reporting six-month placebo-controlled clinical data from this trial in
        January 2017 and expect to commence our Phase 3 program in the second half
        of 2017.”
Emphasis added.

        22.     On November 03, 2016, the Company issued a press release (“Nov. 2016 Press

Release”), also attached as Exhibit 99.1 to the Form 8-K filed with the SEC, ratifying that the

Phase 3 program for GEN-003 was expected to initiate in the second half of 2017. The press release

stated in pertinent part:

                    Genocea Reports Third Quarter 2016 Financial Results
                 - Positive Phase 2b results recently reported and dose selected for
                    GEN-003 Phase 3 program expected to initiate in 2H 2017 -
                                - Conference Call at 9am ET today -
        CAMBRIDGE, Mass., November 3, 2016 - Genocea Biosciences, Inc. (NASDAQ:
        GNCA), a company developing T cell-directed vaccines and immunotherapies,
        today reported corporate highlights and financial results for the third quarter ended
        September 30, 2016. Genocea’s lead clinical candidate, GEN-003, is a T cell-
        directed immunotherapy for the treatment of genital herpes infections, designed to
        elicit both a T cell and B cell (antibody) immune response that, if approved, we
        believe would be the first-ever therapeutic vaccine for an infectious disease.

        “We achieved an important GEN-003 milestone in the third quarter with the
        selection of our Phase 3 dose, demonstrating a significant reduction in viral
        shedding for the third consecutive clinical trial, this time with an improved, Phase
        3-ready formulation,” said Chip Clark, president and chief executive officer of


                                                  6
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 7 of 24



       Genocea. “We also continue to advance our immuno-oncology program and are
       now focusing all of our early stage research and pre-clinical resources to these
       efforts. We believe ATLAS enables better cancer vaccine antigen selection than
       existing methods and that our demonstrated vaccine development expertise can be
       a further competitive advantage in this exciting space.”

       Mr. Clark continued: “We expect to maintain our strong momentum this quarter
       and throughout 2017. In December, we will be hosting our first R&D day as we
       set the stage for the expected start of the GEN-003 Phase 3 clinical trials in the
       second half of 2017, including the important Phase 2b six month placebo-
       controlled clinical efficacy data expected in January 2017. We will also set out in
       detail our maturing immuno-oncology strategy and neoantigen cancer vaccine
       development plans.”

       Recent Business Highlights
       GEN-003 - Immunotherapy for treatment of genital herpes expected to enter Phase
       3 development in 2H 2017.
       September 2016 - data confirm optimal dose for Phase 3 trials; dose response
       consistent with T cell therapies and with previous GEN-003 clinical trials.
       October 2016 - IDWeek presentation: GEN-003 induced durable polyfunctional T
       cells, IgG and neutralizing antibody titers.
Emphasis added.

       23.     On November 04, 2016, the Company filed a form 10-Q (“2016 Q3 10-Q”) with

the SEC, for the third fiscal quarter ended September 30, 2016, stating that the Company expected

to have sufficient resources to fund the expenses for the Phase 3 trial, without the need to pursue

debt or equity financing. In the 2016 Q3 10-Q, the Company stated, in pertinent part:



       Liquidity

       As of September 30, 2016, the Company had an accumulated deficit of
       approximately $191.4 million. The Company had cash, cash equivalents and
       investments of $75.5 million at September 30, 2016. On the basis of current
       operating plans, including the plan to focus research investments on immuno-
       oncology and the planned commencement of Phase 3 trials for GEN-003 in the
       second half of 2017, it expects that these funds will be sufficient to fund operating
       expenses and capital expenditure requirements into the first quarter of 2018,
       without assuming any receipt of proceeds from potential business development
       partnerships, equity financings or debt drawdowns.
Emphasis added.


                                                7
          Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 8 of 24




        24.     On January 05, 2017, the Company issued a press release (“Jan. 2017 Press

Release”), also attached as Exhibit 99.1 to the Form 8-K filed with the SEC iterating that the Phase

3 program for GEN-003 was expected to initiate in the second half of 2017. The press release

stated in pertinent part:

                 Genocea Announces Positive 6-Month Results from GEN-003
                                       Phase 2b Clinical Trial
          - Trial meets statistical significance vs. placebo for multiple clinical endpoints
                                         through six months -
                    - End of Phase 2 meeting with FDA expected in Q1 2017 -
                                - Phase 3 launch expected in Q4 2017
        - GEN-003 has potential to be first new treatment for genital herpes infections in
                                         more than 20 years -
                      - Company to host conference call at 9 a.m. ET today -

        CAMBRIDGE, Mass., January 5, 2017 --(GLOBE NEWSWIRE)-- Genocea
        Biosciences, Inc. (NASDAQ:GNCA), a biopharmaceutical company developing T
        cell-directed vaccines and immunotherapies, today announced positive clinical
        results from a planned interim analysis of its ongoing placebo-controlled Phase 2b
        trial evaluating GEN-003 for the treatment of genital herpes infections. Even in a
        trial this small, at six months after dosing, GEN-003 demonstrated statistically
        significant improvements versus placebo across multiple clinical endpoints.

                                               ***

        “We are very pleased to have demonstrated such a powerful impact on genital
        herpes clinical disease in this trial, supporting the groundbreaking potential of
        GEN-003 to be the first-ever therapeutic vaccine for a chronic infection and the
        first advance in the treatment of genital herpes in more than 20 years,” said Chip
        Clark, president and chief executive officer of Genocea. “We look forward to
        meeting with the FDA in the first quarter of 2017 and to commencing our GEN-
        003 Phase 3 program in the fourth quarter of 2017. It’s an exciting time for
        Genocea as we also continue to extend the potential of our ATLAS platform to
        harness the power of T cells in immuno-oncology.”
Emphasis added.

        25.     On February 16, 2017, the Company issued a press release (“Feb. 2017 Press

Release”), also attached as Exhibit 99.1 to the Form 8-K filed with the SEC stating that the




                                                 8
          Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 9 of 24



Company expected to have sufficient resources to fund the expenses for the Phase 3 trial, without

the need to pursue debt or equity financing. The press release stated in pertinent part:

           Genocea Reports Fourth Quarter and Year-End 2016 Financial Results
       - Positive Phase 2b clinical data confirm attractive profile for GEN-003; expected
                             to start Phase 3 program in 4Q 2017 -
         - Neoantigen cancer vaccine program on track to file first IND by end of 2017-
                              - Conference call at 9am ET today –

                                               ***

       Anticipated Upcoming Milestones and Events Milestones

      1Q 2017: GEN-003 end-of-Phase 2 meeting with the U.S. Food and Drug
       Administration (FDA) expected; will confirm the design of the GEN-003 Phase 3
       program
      2H 2017: GEN-003 24-month Phase 2 data expected; will inform likely timing of
       maintenance dosing for GEN-003
      2H 2017: GEN-003 12-month Phase 2b data anticipated; expected to reconfirm
       clinical profile of GEN-003 at 1 year post dosing
      4Q 2017: GEN-003 Phase 3 program start expected
      4Q 2017: GEN-009 neoantigen cancer vaccine Investigational New Drug (IND)
       application filing expected

                                               ***

       Financial Guidance

       Genocea expects that its existing cash, cash equivalents and investments are
       sufficient to support its operating expenses and capital expenditure requirements
       into the first quarter of 2018, without assuming any receipt of proceeds from
       potential business development partnerships, equity financings or debt
       drawdowns. This guidance assumes commencing Phase 3 trials for GEN-003 for
       genital herpes in the fourth quarter of 2017 and filing an IND for GEN-009 for
       cancer by the end of the year, however it is Genocea’s strategy to secure additional
       sources of financing in advance of starting GEN-003 Phase 3 clinical trials.

Emphasis added.

       26.     On February 17, 2017, the Company filed a Form 10-K with the SEC announcing

the Company’s financial and operating results for the fourth fiscal quarter and year ended

December 31, 2016 (“2016 10-K”), which was signed and certified under the Sarbanes Oxley Act



                                                 9
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 10 of 24



of 2002 by the Individual Defendants. Throughout the 2016 10-K the company reapproved the

previous statements, and added in relevant part:

        GEN-003 also continues to demonstrate a safety profile appropriate for its
        therapeutic setting in the judgment of the trial’s independent Drug Monitoring
        Committee. There was no grade 4 reactogenicity or related serious AEs and
        discontinuations due to AEs were low and similarly distributed across active dose
        groups and placebo.

        We intend to conduct an end-of-Phase 2 meeting with the FDA in early 2017. We
        also expect to commence Phase 3 trials in the fourth quarter of 2017. We plan to
        commence a clinical trial exploring the potential additive effects of GEN-003 on
        top of daily administration of valacyclovirin parallel with the Phase 3 program. We
        retain all rights to GEN-003 and our strategy is to execute a partnership to
        maximize the potential of GEN-003 and to help fund the costs of the GEN-003
        Phase 3 program.

Emphasis added.

        27.     On May 04, 2017, the Company issued a press release (“May 2017 Press Release”),

also attached as Exhibit 99.1 to the Form 8-K filed with the SEC reinforcing previous filings that

the Phase 3 program for GEN-003 was expected to initiate in the second half of 2017. The press

release stated in pertinent part:

         Genocea Reports First Quarter 2017 Financial Results and Positive Clinical
              Developments on Lead Candidate GEN-003 in Genital Herpes

             - Data from GEN-003 Phase 2 trial indicate initial course of injections
                 sustains clinical and virologic efficacy for at least 24 months -
          - End of Phase 2 meeting successfully completed for GEN-003; expect to be
                                  Phase 3-ready by end of 2017 -
         - Neoantigen cancer vaccine candidate GEN-009 IND filing expected by end of
                                              2017 -
                               - Conference call today at 9am ET –

        CAMBRIDGE, Mass., May 4, 2017 - Genocea Biosciences, Inc. (NASDAQ:
        GNCA), a biopharmaceutical company developing T cell-directed vaccines and
        immunotherapies, today reported financial results for the first quarter of 2017 and
        announced several positive clinical developments on GEN-003, the company’s
        candidate immunotherapy for the treatment of genital herpes.




                                                10
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 11 of 24



       In a Phase 2 study, GEN-003 demonstrated sustained reductions compared to
       baseline in the genital lesion rate (percent of days with genital lesions) and the viral
       shedding rate (percent of days with detectable virus) in genital herpes patients 24
       months after dosing across multiple dose groups (see detailed data below). In
       addition, Genocea has now successfully completed its End of Phase 2 meeting with
       the U.S. Food and Drug Administration (FDA) and continues to expect GEN-003
       to be ready for Phase 3 development by the end of 2017.

       Chip Clark, president and chief executive officer of Genocea commented on the
       results: “These long-term durability data reinforce our conviction that GEN-003
       could become the cornerstone treatment for patients with genital herpes. We believe
       the data suggest a single course of treatment of GEN-003 could offer significant
       clinical, virologic and convenience benefits to patients generally, and especially
       those dissatisfied with current treatments, for at least 2 years with no maintenance
       dosing. Given our successful End of Phase 2 meeting with the FDA, we continue
       to plan a Phase 3 program design consistent with previous guidance. We believe
       that these new data, together with the body of positive clinical results to date and
       these FDA discussions, give us momentum to advance our pioneering product
       candidate to Phase 3 readiness this year.”

Emphasis added.

       28.     On May 5, 2017, Genocea filed a form 10-Q (“2017 Q1 10-Q”) with the SEC, for

the first fiscal quarter ended March 31, 2017, disclosing that the Company expected to secure

additional funding to finance the Phase 3 for GEN-003, but that the Company had the ability to

fund operations until at least 1 more year from the date of the quarterly report. In the 2017 Q1 10-

Q, the Company stated, in pertinent part:

       Liquidity

       As of March 31, 2017, the Company had an accumulated deficit of
       approximately $221.2 million. The Company had cash, cash equivalents and
       investments of $48.7 million at March 31, 2017. The Company expects that
       existing cash, cash equivalents and investments are sufficient to support
       operating expenses, capital expenditure requirements, and debt obligations into
       the first quarter of 2018, without assuming any receipt of proceeds from potential
       business development partnerships or equity financings. This guidance assumes
       the Company commences a Phase 3 clinical trial for GEN-003 for genital herpes
       around the end of 2017 and files an IND for GEN-009 for cancer by the end of
       2017; however, it is the Company’s strategy to secure additional sources of
       financing in advance of starting GEN-003 Phase 3 clinical trials. The Company has




                                                 11
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 12 of 24



       the ability to modify its operating plans in order to fund operations through at
       least one year from the issuance of this quarterly report.

                                              ***

       Around the end of the first quarter of 2017, we had a successful end-of-Phase
       meeting with the FDA, the outcome of which was aligned with our previously
       disclosed Phase 3 design expectations. We continue to expect that GEN-003 will
       be Phase 3-ready in the fourth quarter of 2017. We plan to commence a clinical
       trial exploring the potential additive effects of GEN-003 on top of daily
       administration of valacyclovir in parallel with the Phase 3 program. We retain all
       rights to GEN-003 and if GEN-003 successfully completes clinical development
       and is approved, we believe it would represent an important new treatment option
       for patients with genital herpes.

Emphases added.

The Truth Emerges

       29.     On September 25, 2017, after the market closed, Genocea issued a press release

(“Sept. 2017 Press Release”), also attached as Exhibit 99.1 to the Form 8-K filed with the SEC,

announcing that the Company was ceasing GEN-003 spending and activities and was reducing its

workforce by approximately 40 percent. In the press release, the Company stated, in pertinent part:

              Genocea Announces Strategic Shift to Immuno-oncology and the
                       Development of Neoantigen Cancer Vaccines
                  - Superior ATLASTM platform for neoantigen selection (1) -
                       - Exploring strategic alternatives for GEN-003 -
                            - Announces corporate restructuring -

       CAMBRIDGE, Mass., September 25, 2017 - Genocea Biosciences,
       Inc. (NASDAQ: GNCA), a biopharmaceutical company discovering and
       developing novel vaccines and immunotherapies targeting T cell antigens, today
       announced a strategic shift to immuno-oncology and a focus on the development of
       neoantigen cancer vaccines, including GEN-009, its lead candidate for which it
       expects to file an Investigational New Drug (IND) application by early 2018.
       Genocea also announced it is exploring strategic alternatives for GEN-003, its
       Phase 3-ready investigational immunotherapy for the treatment of genital herpes.
       Consequently, Genocea is ceasing GEN-003 spending and activities and is
       reducing its workforce by approximately 40 percent.

Emphasis added.




                                                12
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 13 of 24



        30.     On this news, Genocea’s stock price declined $4.08, or nearly 76.5%, from a close

of $5.33 per share on September 25, 2017, to a close of $1.25 on September 26, 2017.

                          ADDITIONAL SCIENTER ALLEGATIONS

        31.     As alleged herein, Defendants acted with scienter in that they knew that the public

documents and statements issued or disseminated in the name of the Company were materially

false and misleading; knew that such statements or documents would be issued or disseminated to

the investing public; and knowingly and substantially participated or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the federal securities laws.

As set forth elsewhere herein in detail, Defendants, by virtue of their receipt of information

reflecting the true facts regarding Genocea, their control over, and/or receipt and/or modification

of Genocea’s allegedly materially misleading statements and/or their associations with the

Company which made them privy to confidential proprietary information concerning Genocea,

participated in the fraudulent scheme alleged herein.

                                        LOSS CAUSATION

        32.     During the Class Period, as detailed herein, Defendants made false and misleading

statements and engaged in a scheme to deceive the market and a course of conduct that artificially

inflated the price of Genocea’s securities and operated as a fraud or deceit on Class Period

purchasers of Genocea securities by materially misleading the investing public. Later, when

Defendants’ prior misrepresentations and fraudulent conduct became apparent to the market, the

price of Genocea’s securities fell precipitously, as the prior artificial inflation came out of the price

over time. As a result of their purchases of Genocea securities during the Class Period, Plaintiff

and other members of the Class suffered economic loss, i.e., damages, under the federal securities

laws.




                                                   13
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 14 of 24



                    APPLICATION OF PRESUMPTION OF RELIANCE:
                        FRAUD-ON-THE-MARKET DOCTRINE

       33.     At all relevant times, the market for Genocea’s securities was an efficient market

for the following reasons, among others:

       a)      Genocea securities met the requirements for listing, and was listed and actively

traded on the NASDAQ, a highly efficient and automated market;

       b)      Genocea filed periodic public reports with the SEC and the NASDAQ; and

       c)      Genocea regularly communicated with public investors via established market

communication mechanisms, including regular disseminations of press releases on the national

circuits of major newswire services and other wide-ranging public disclosures, such as

communications with the financial press and other similar reporting services.

       34.     As a result of the foregoing, the market for Genocea’s securities promptly digested

current information regarding Genocea from all publicly available sources and reflected such

information in the prices of the securities. Under these circumstances, all purchasers of Genocea

securities during the Class Period suffered similar injury through their purchase of Genocea

securities at artificially inflated prices and a presumption of reliance applies.

                                       NO SAFE HARBOR

       35.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.



                                                  14
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 15 of 24



In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of

Genocea who knew that the statement was false when made.

                               CLASS ACTION ALLEGATIONS

       36.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased or otherwise acquired Genocea

securities during the Class Period (the “Class”). Excluded from the Class are Defendants and their

families, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

which Defendants have or had a controlling interest.

       37.     The members of the Class are so numerous that joinder of all members is

impracticable, since Genocea has millions of shares of stock outstanding and because the

Company’s shares were actively traded on the NASDAQ. As of November 1, 2017, Genocea had

more than 28 million shares issued and outstanding. While the exact number of Class members in

unknown to Plaintiff at this time and can only be ascertained through appropriate discovery,

Plaintiff believes that there are thousands of members in the proposed Class and that they are

geographically dispersed.

       38.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members, including:




                                                  15
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 16 of 24



       (a)     whether the Exchange Act was violated by Defendants;

       (b)      whether Defendants omitted and/or misrepresented material facts in their publicly

disseminated reports, press releases, and statements during the Class Period;

       (c)     whether Defendants’ statements omitted material facts necessary to make the

statements made, in light of the circumstances under which they were made, not misleading;

       (d)     whether Defendants participated and pursued the fraudulent scheme or course of

business complained of herein;

       (e)     whether Defendants acted willfully, with knowledge or recklessly in omitting

and/or misrepresenting material facts;

       (f)     whether the price of Genocea securities was artificially inflated during the Class

Period as a result of the material nondisclosures and/or misrepresentations complained of herein;

and

       (g)     whether the members of the Class have sustained damages as a result of the decline

in value of Genocea’s stock when the truth was revealed, and if so, what is the appropriate measure

of damages.

       39.     Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct in a substantially identical manner.

       40.     Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in class action securities litigation. Plaintiff has no interests which conflict

with those of the Class.

       41.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.




                                                16
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 17 of 24



                                     CLAIMS FOR RELIEF

                                           COUNT I
                                  Violation of Section 10(b) of
                             the Exchange Act and SEC Rule 10b-5
                                   (Against All Defendants)

        42.     Plaintiff incorporates by reference each and every preceding paragraph as though

fully set forth herein.

        43.     This Count is asserted by Plaintiff on behalf of themselves and the Class against all

the Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule

10b-5, 17 C.F.R. C 240.10b-5, promulgated thereunder.

        44.     During the Class Period, Defendants carried out a plan, scheme, and course of

conduct that was intended to and, throughout the Class Period, did: (i) deceive the investing public,

including Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and maintain

the market price of Genocea’s common stock; and (iii) cause Plaintiff and other members of the

Class to purchase or otherwise acquire Genocea’s common stock at artificially inflated prices. In

furtherance of this unlawful scheme, plan, and course of conduct, the Defendants, and each of

them, took the actions set forth herein.

        45.     Defendants, by the use of means and instrumentalities of interstate commerce:

(i) employed devices, schemes, and artifices to defraud; (ii) made untrue statements of material

fact and/or omitted to state material facts necessary to make the statements made not misleading;

and (iii) engaged in acts, practices, and a course of business that operated as a fraud and deceit

upon the purchasers and acquirers of the Company’s common stock in an effort to maintain

artificially high market prices for Genocea’s common stock in violation of Section 10(b) of the

Exchange Act and Rule 10-5.




                                                 17
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 18 of 24



        46.     As a result of their making and/or their substantial participation in the creation of

affirmative statements and reports to the investing public, Defendants had a duty to promptly

disseminate truthful information that would be material to investors in compliance with the

integrated disclosure provisions of the SEC, as embodied in SEC Regulation S-K (17 C.F.R. §

229.10, et seq.) and other SEC regulations, including accurate and truthful information with respect

to the Company’s operations and performance so that the market prices of the Company’s publicly

traded securities would be based on truthful, complete, and accurate information. Defendants’

material misrepresentations and omissions as set forth herein violated that duty.

        47.     Defendants engaged in the fraudulent activity described above knowingly and

intentionally or in such a reckless manner as to constitute willful deceit and fraud upon Plaintiff

and the Class. Defendants knowingly or recklessly caused their reports and statements to contain

misstatements and omissions of material fact as alleged herein.

        48.     As a result of Defendants’ fraudulent activity, the market price of Genocea was

artificially inflated during the Class Period.

        49.     In ignorance of the true financial condition of Genocea, Plaintiff and other members

of the Class, relying on the integrity of the market and/or on the statements and reports of Genocea

containing the misleading information, purchased or otherwise acquired Genocea’s common stock

at artificially inflated prices during the Class Period.

        50.     Plaintiff and the Class’s losses were proximately caused by Defendants’ active and

primary participation in Genocea’s scheme to defraud the investing public by, among other things,

failing to fully and accurately disclose to investors adverse material information regarding the

Company. Plaintiff and other members of the Class purchased Genocea’s stock in reliance on the

integrity of the market price of that common stock, and Defendants manipulated the price of




                                                  18
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 19 of 24



Genocea’s common stock through their misconduct as described herein. Plaintiff’s and the Class’s

losses were a direct and foreseeable consequence of Defendants’ concealment of the true financial

condition of Genocea.

       51.     Throughout the Class Period, Defendants were aware of material non-public

information concerning Genocea fraudulent conduct (including the false and misleading

statements described herein). Throughout the Class Period, Defendants willfully and knowingly

concealed this adverse information, and Plaintiff’s and the Class’s losses were the foreseeable

consequence of Defendants’ concealment of this information.

       52.     As a direct and proximate cause of the Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their respective purchases and

sales of Genocea common stock during the Class Period.

                                           COUNT II
                         Violation of Section 20(a) of the Exchange Act
                              (Against the Individual Defendants)

       53.     Plaintiff incorporates by reference and realleges each and every allegation above as

though fully set forth herein.

       54.     During the Class Period, the Individual Defendants were privy to non-public

information concerning the Company and its business and operations via access to internal

corporate documents, conversations and connections with other corporate officers and employees,

attendance at management and Board of Directors meetings and committees thereof and via reports

and other information provided to them in connection therewith. Because of their possession of

such information, the Individual Defendants knew or recklessly disregarded the fact that adverse

facts specified herein had not been disclosed to, and were being concealed from, the investing




                                                19
         Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 20 of 24



public. Plaintiff and other members of the Class had no access to such information, which was,

and remains solely under the control of the Defendants.

       55.     The Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the materially false and misleading statements complained of herein. The Individual

Defendants were aware (or recklessly disregarded) that materially false and misleading statements

were being issued by the Company and nevertheless approved, ratified and/or failed to correct

those statements, in violation of federal securities laws. Throughout the Class Period, the

Individual Defendants were able to, and did, control the contents of the Company’s SEC filings,

reports, press releases, and other public statements. The Individual Defendants were provided with

copies of, reviewed and approved, and/or signed such filings, reports, releases and other statements

prior to or shortly after their issuance and had the ability or opportunity to prevent their issuance

or to cause them to be corrected.

       56.     The Individual Defendants also were able to, and did, directly or indirectly, control

the conduct of Genocea’s business, the information contained in its filings with the SEC, and its

public statements. Moreover, the Individual Defendants made or directed the making of

affirmative statements to securities analysts and the investing public at large, and participated in

meetings and discussions concerning such statements. Because of their positions and access to

material non-public information available to them but not the public, the Individual Defendants

knew that the adverse facts specified herein had not been disclosed to and were being concealed

from the public and that the positive representations that were being made were false and

misleading. As a result, the Individual Defendants are responsible for the accuracy of Genocea’s

corporate releases detailed herein and is therefore responsible and liable for the misrepresentations

contained herein.




                                                 20
           Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 21 of 24



         57.    The Individual Defendants acted as controlling persons of Genocea within the

meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Genocea to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Genocea and all of its

employees. As alleged above, Genocea is a primary violator of Section 10(b) of the Exchange Act

and SEC Rule 10b-5. By reason of their conduct, the Individual Defendants are liable pursuant to

section 20(a) of the Exchange Act.

         58.    As a direct and proximate result of the wrongful conduct of Genocea and the

Individual Defendants, Plaintiff and members of the Class suffered damages in connection with

their respective purchases and sales of the Company’s securities during the Class Period.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment as follows:

         (A)    Declaring this action to be a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure and certifying Plaintiff as a representative of the Class and his counsel as Class

counsel;

         (B)    Awarding Plaintiff and the members of the Class damages, including interest;

         (C)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including and attorneys’ fees; and

         (D)    Awarding such equitable/injunctive or other relief as the Court may deem just and

proper

                                          JURY DEMAND

         Plaintiff demands a trial by jury.




                                                  21
       Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 22 of 24



Dated: December 15, 2017.             Respectfully submitted,


                                      /s/Shannon L. Hopkins
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                                      Counsel for Plaintiff and the Proposed Class




                                     22
                  Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 23 of 24




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        I.   CERTIFICATION OF NAMED PLAINTIFF PURSUANT TO FEDERAL SECURITIES

                                                             LAWS

             I, Taylor Walker, duly certify and say, as to the claims asserted under the federal securities laws,
that:
             1. I have reviewed the complaint and authorized its filing.
             2. I did not purchase the security that is the subject of this action at the direction of plaintiff's
counsel or in order to participate in this private action.
             3. I am willing to serve as a representative party on behalf of the class, including providing
testimony at deposition and trial, if necessary.
             4. My transaction(s) in Genocea Biosciences Inc. which are the subject of this litigation during the
class period set forth in the complaint are set forth in the chart attached hereto.
             5. Within the last 3 years, I have not sought to serve nor have I served as a class representative in
any federal securities fraud case.
             6. I will not accept any payment for serving as a representative party on behalf of the class beyond
the Plaintiff's pro rata share of any recovery, except as ordered or approved by the court, including any
award for reasonable costs and expenses (including lost wages) directly relating to the representation of the
class.

           I certify under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct. Executed this December 14, 2017.

 Name: Taylor Walker
Signed:
                             Case 1:17-cv-12474-PBS Document 1 Filed 12/15/17 Page 24 of 24


                                              Schedule A
                   Transactions of Taylor Walker in Genocea Biosciences, Inc. (GNCA)
Client Name                  Taylor Walker
Company Name            Genocea Biosciences, Inc.
Ticker Symbol                    GNCA
Class Period Start              8/4/2016
Class Period End                9/25/2017

                                        Account #XXXXXX47
Date of Transaction         Purchase or Sale      Quantity Price per Security Total Cost/Proceeds
            1/9/2017   Purchase                       470                4.59            $2,157.30
           3/20/2017   Purchase                         18                5.7              $102.60
           5/10/2017   Purchase                       310                 6.2            $1,922.00
            8/9/2017   Purchase                       600                4.18            $2,508.00
           8/11/2017   Purchase                       427                3.91            $1,669.57
